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 1                                                               JUDGE ROBERT J. BRYAN
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 4
                             UNITED STATES DISTRICT COURT
 5
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT TACOMA

 7
     UNITED STATES OF AMERICA,                     )   No. CR21-0134 RJB
 8                                                 )
                    Plaintiff,                     )
 9                                                 )   ORDER GRANTING DEFENSE
               v.                                  )   MOTION TO CONTINUE TRIAL
10                                                 )   DATE AND PRETRIAL MOTION
     MICHAEL SCOTT,                                )   DEADLINE
11                                                 )
                    Defendant.                     )
12                                                 )
13          THE COURT has considered the defendant’s unopposed motion to continue the

14   trial date and pretrial motions deadline and the facts and circumstances described

15   therein, which are hereby incorporated as findings of fact, and finds that:

16          (a) taking into account the exercise of due diligence, a failure to grant a

17   continuance in this case would deny counsel for the defendant the reasonable time

18   necessary for effective preparation due to counsel’s need for more time to review the

19   evidence, consider possible defenses, and gather evidence material to the defense, as set

20   forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and

21          (b) a failure to grant such a continuance in this proceeding would likely result in

22   a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and

23          (c) the additional time requested is a reasonable period of delay, as the defendant

24   has requested more time to prepare for trial, to investigate the matter, to gather evidence

25   material to the defense, and to consider possible defenses; and

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       ORDER TO CONTINUE TRIAL AND
       PRETRIAL MOTIONS DUE DATE - 1
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 1          (d) the case is sufficiently complex that it is unreasonable to expect adequate
 2   preparation for pretrial proceedings or the trial itself within the current trial schedule, as
 3   set forth in 18 U.S.C. § 3161(h)(7)(B)(ii); and
 4          (e) the ends of justice will best be served by a continuance, and the ends of
 5   justice outweigh the best interests of the public and the defendant in any speedier trial,
 6   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 7          (f) the additional time requested between the current trial date of November 1,
 8   2021, and the new trial date is necessary to provide counsel for the defendant the
 9   reasonable time necessary to prepare for trial, all of the facts set forth above; and
10          (g) that the period of delay from the date of this motion to the new trial date is
11   excludable time pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B)(iv).
12          IT IS THEREFORE ORDERED that the trial date in this matter shall be
13   continued to May 23, 2022, and that pretrial motions shall be filed no later than April
14   13, 2022. A pretrial conference shall be held on May 13, 2022, at 8:30 a.m.
15          DONE this 28th day of September, 2021.
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                                          A
                                          ROBERT J. BRYAN
18                                        United States District Judge
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       ORDER TO CONTINUE TRIAL AND
       PRETRIAL MOTIONS DUE DATE - 2
